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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW YORK


 IN RE:                                                     Case No. 1:21-mc-00118-LAK
 EX PARTE APPLICATION OF SPS I FUNDO DE
 INVESTIMENTO DE AÇÕES – INVESTIMENTO
 NO EXTERIOR FOR AN ORDER TO TAKE
 DISCOVERY PURSUANT TO 28 U.S.C. § 1782


                  ADDITIONAL DECLARATION OF PABLO RENTERIA

       I, Pablo Renteria, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury

under the laws of the United States, as follows:

       1.      On June 3, 2022, I presented a declaration in this action in support of Joesley

Batista, Wesley Batista, JBS S.A., and J&F Investimentos S.A. (“Intervenors”)’s motion to vacate

the ex parte order authorizing SPS I Fundo De Investimento De Ações – Investimento No Exterior

(“SPS” or “Petitioner”) to take discovery pursuant to 28 U.S.C. § 1782 and to quash the subpoena

served on J.P. Morgan Chase Bank, N.A. (“J.P. Morgan”) and Barclays USA, Inc. (“Barclays”

and, with J.P. Morgan, “Respondents”) in this matter (“Renteria’s First Declaration”).

       2.      Subsequently, Intervenors’ representatives informed me of the Petitioner’s

submission of the opposition to Intervenors’ motion to vacate the court’s order to take discovery

pursuant to 28 U.S.C. § 1782 and to quash the subpoenas served on Respondents in this matter

(“SPS’s Opposition”), as well as of an additional statement made by Mr. Gustavo Machado

Gonzalez.

       3.      Through such documents, SPS and Mr. Gonzalez contested some of the points

presented in the Renteria’s First Declaration, such as (i) the speculative nature of SPS’s discovery

request; (ii) the fact that SPS will not be considered an interested third-party in the investigations


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it wants the Brazilian Securities and Exchange Commission (the “CVM”) to start; (iii) the fact that

the investigative procedures conducted by the CVM do not qualify as a proceeding; and (iv) the

CVM capacity to obtain information it deems relevant in the United States of America through a

US-Brazil mutual legal assistance treaty.

       4.      After reviewing SPS’s Opposition and Mr. Gonzalez’s supplemental declaration, I

submit this supplemental declaration in support of Intervenors’ reply to SPS’s Opposition.

       5.      All facts set forth in this declaration are based upon: (a) my personal knowledge;

(b) my review of relevant documents and (c) information supplied to me by the Intervenors or their

officers, directors, and employees, or professionals retained by them.

I.     THE SPECULATIVE NATURE OF THE COMPLAINT TO BE FILED BY SPS
       WITH CVM AND ITS LACK OF MERIT

       6.      SPS seeks to contradict the argument that its potential complaint is purely

speculative, as I exposed it in the Renteria’s First Declaration, stating that it had already prepared

a draft complaint of 115 paragraphs, with 15 exhibits, which would state what SPS has already

discovered the alleged irregular use of certain foreign companies (the “Target Companies”). The

draft complaint was purportedly prepared by Mr. Gonzalez (a lawyer hired by SPS), and, according

to SPS’s allegations, would reveal violations of Brazilian corporate and capital market legislation

(Mr. Gonzalez’s supplemental declaration, §§ 41-43).

       7.      Mr. Gonzalez’s supplemental declaration alleges that “[t]he evidence gathered by

SPS includes, but is not limited to, information arising from the ‘FinCen Files’” (§ 41) and that I

“ha[ve] never had access to the existing draft complaint and, therefore, [I am] not able to opine on

the sufficiency of the support therein” (§ 46 and, in the same direction, SPS’s Opposition, p. 11).

       8.      However, with all due respect to Mr. Gonzalez, the argument is not convincing.

Without bringing any evidence to support his claims, Mr. Gonzalez – SPS’s lawyer – wants


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everyone to believe that his client has robust evidence against the Intervenors, which, in his

opinion, would be sufficient for the CVM to initiate a sanctioning administrative proceeding to

punish them. Again, with all due respect, this kind of argument, which is not based on disclosed

facts but only on the lawyer’s opinion, is meritless.

       9.      It is worth noting that SPS’s Opposition and Mr. Gonzalez’s supplemental

declaration do not indicate to what extent the documents sought through SPS’s 1782 discovery

request would relate to the exhibits and information contained in the draft complaint they claim to

have already prepared. There is no element to demonstrate that the documents referred to by the

FinCEN Files would be relevant or complementary to the draft. There is only the generic statement

that “[t]he draft complaint sets forth evidence for charges to be brought against the Batistas (…),

including for use of their control of JBS to cause it to engage in sham transactions; breach of

fiduciary duties in management; and failure to properly disclose corporate transactions and their

purposes” (Mr. Gonzalez’s supplemental declaration, § 43).

       10.     Mr. Gonzalez says that I did not have access to the document, but the truth is that

no one else did, so it is impossible to make an objective assessment of the merit of this so-called

draft complaint and the probability that the CVM will initiate a sanctioning proceeding based on

it. As a former employee of the CVM (who worked there for approximately ten years, holding

different positions, including as Commissioner and Superintendent of Administrative Proceedings)

and an active lawyer in the Brazilian capital market, I can say that I have witnessed numerous

complaints, with more paragraphs and exhibits than described by SPS and Mr. Gonzalez, being

dismissed, without any formal accusation being made by the CVM. The only thing that one can

safely assess here is what Mr. Gonzalez and SPS have disclosed in their filings in this proceeding—




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and based on those disclosures I do not see any concrete evidence or basis that the CVM would be

interested in the allegations made therein.

        11.        In fact, just a few days ago, the CVM dismissed an extensive complaint filed by

SPS itself. According to the Technical Opinion n. 34/2022-CVM/SEP/GEA-4, rendered by the

CVM’s Corporate Relations Superintendence within the scope of CVM Process n.

19957.007423/2021-12, SPS filed a complaint with the CVM in which it requested the CVM to

charge the controlling shareholders and managers of JBS with several serious alleged irregularities,

namely: (i) abuse of power of control, in violation of art. 117 of Law n. 6,404/1976 (the Brazilian

Corporate Law); (ii) managers acting in conflict of interest, in violation of art. 156 of Law n.

6,404/1976; (iii) management actions to the detriment of the Company’s interests, in violation of

art. 154 of Law n. 6,404/1976; (iv) unfaithful actions of managers, in violation of art. 155, II, of

Law n. 6,404/1976; and (v) negligent actions of managers, in violation of the duty of care provided

for in art. 153 of Law n. 6,404/1976. Based on excerpts of the complaint quoted by the Technical

Opinion, that complaint had at least 28 exhibits. 1

        12.        That complaint was evidently extensive, with almost twice as many exhibits that,

according to SPS, would be filed with the draft complaint it intends to bring against the Batista

brothers here. However, through Official Decision n. 487/2022/CVM/SOI/GOI-2, of 6.16.2022,

the CVM informed the Petitioner that, after analyzing the complaint, it did not identify any of the

alleged illegalities and, for that reason, decided to dismiss the complaint and close the

investigation. 2


        1
            Technical Opinion, §9.
        2
          With the aim of updating the Court with developments that have occurred since my First
Declaration was filed, it is important to note that the arbitration SPS commenced (CAM Arbitration
No. 110/18) was terminated by the Brazilian Supreme Court on June 10, 2022. The Brazilian


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       13.     This dismissal demonstrates that SPS’s assertion that it has a draft complaint with

115 paragraphs and 15 exhibits does not support any conclusion about the actual existence of

evidence against the Intervenors sufficient to support the allegations.

       14.     It is worth noting that none of the aforementioned 15 exhibits was used to support

the discovery request made by the SPS. Rather, to support its request, SPS referred only to the

report allegedly prepared by Barclays and published by FinCEN Files to state, without much

conviction, that “[t]he evidence suggests that these entities [the Target Companies] received orders

directly from the Batista family” that “may be linked to unlawful conducts taken in detriment to

JBS’ assets and its minority shareholders” (p. 2 of the Application, emphasis added). If the exhibits

had the substance that SPS claims they have, it would be expected that they would have been filed

in its application for discovery.

       15.     In short, the only evidence that SPS has referenced so far about the alleged

illegalities committed by the Intervenors is the Barclays financial transaction report and, as already

exposed in the Renteria’s First Declaration, it would be absolutely speculative to say that the CVM

would conduct an investigation based on this document alone. As already clarified, it is up to the

CVM itself to assess the appropriateness of an investigation and it would be highly unlikely that it

would start one based on the Barclays report.

       16.     Indeed, given that the FinCEN Files is a public journalistic operation since 2020,

disclosed by a series of press outlets around the world, including Brazilian media, and that,

according to Mr. Gonzalez’s supplemental declaration, “the CVM gives press coverage on matters

under its jurisdiction substantial importance” (§ 47), it is very likely that the information has




Supreme Court essentially held that SPS did not have standing to bring the arbitration. The second
arbitration, in which SPS acts as an interested party to JBS, remains pending.

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already come to CVM’s attention. Despite that, there is no evidence that any investigation has

already been commenced.



II.    CVM’S INVESTIGATIVE PROCEEDINGS DO NOT ADMIT INTERESTED
       THIRD PARTY INTERVENTION


       17.       In its section VI, Renteria’s First Declaration states that SPS is not to be considered

an interested party in the contemplated investigation and proceeding should such investigation and

proceeding actually be initiated. Mr. Gonzalez disagrees and seeks to rebut such statement arguing

that “[t]he investor who filed a complaint will be an interested third party” (§ 35). As per my

understanding, his argument is based on (i) the alleged application of Law No. 9,784/1999; (ii) his

interpretation about the CVM case law; and (iii) the possibility for the investor to submit

documents and to appeal against a decision of a CVM unit not to pursue an accusation.

       18.       In my opinion, however, Mr. Gonzalez’s conclusions are not correct, as I will

explain below.

       A.        The applicability of Law n. 9,784/1999 to the CVM administrative proceedings

       19.       Within the scope of the Brazilian federal public administration, an administrative

proceeding may be governed either by Law No. 9,784/1999 (which establishes general rules

applicable to any administrative proceeding) or by sectorial laws and regulations, which

specifically regulate the investigations and proceedings conducted by a certain federal

organization. The CVM investigations and proceedings, which by nature are not criminal, but

administrative and sanctioning, fall under the latter case, because, by virtue of Article 9, §2, of

Law n. 6,385/1976, the CVM has the authority to regulate its administrative procedures and

proceedings. As already mentioned above, the matter is currently regulated by CVM Resolution

n. 45/2021.
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        20.     As Renteria’s First Declaration briefly explains (footnote n. 25), when the

administrative proceeding is governed by specific rules, as is the case of the CVM administrative

proceedings at issue here, the provisions of Law n. 9,784/1999 are not directly applicable, but

subsidiarily applicable—that is, applicable only when necessary to fill a gap in the regulations.

This is the solution expressly provided for in Art. 69 of Law n. 9,784/1999, according to which

“the specific administrative proceeding will continue to be governed by their own law, applying

the rules of the Law complementarily.” So, contrary to what Mr. Gonzalez suggests, the CVM

rules can contradict the provisions of the Law No. 9,784/1999.

        21.     Among other provisions, art. 9 of Law n. 9,784/1999 deals with individuals entitled

to participate in the administrative proceeding, among which are third parties, who, despite not

appearing as parties to the proceeding, “have rights or interests that may be affected by the decision

to be rendered.” Meanwhile, as explained, this rule would only apply to the CVM administrative

proceedings if there was a gap in the regulation issued by the CVM regarding the intervention of

interested third parties.

        22.     It is worth clarifying that, under Brazilian law, the “regulatory gap” means the

omission of the legislator or regulator to address a specific matter. The gap is not to be confused

with the mere nonexistence of a rule on the matter, because there are cases in which the legislator

or the regulator deliberately chooses not to address the issue.




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        B.      There is no gap that should be resolved through the complementary

        application of Law n. 9,784/1999 regarding third-party interventions within CVM

        administrative proceedings

        23.     As Renteria’s First Declaration states (§§ 76-79), the CVM has expressed, in more

than one opportunity, its understanding that the regulations enacted by it do not permit the

participation of third parties.

        24.     Mr. Gonzalez affirms that it would be wrong to interpret the decision rendered by

the Board of Commissioners within the scope of PAS CVM 19957.005983/2019-18 (“PAS

Argúcia”), which I have cited in Renteria’s First Declaration, as prohibiting the participation of

third parties in administrative proceedings. According to him, the excerpt of the Chairman’s vote

to which I referred in the Renteria’s First Declaration refers only to the participation of a third

party in the capacity of amicus curiae. Besides, Mr. Gonzalez mentions a subsequent decision in

the same enforcement proceeding, dated as of March 9, 2021, which, in his opinion, would have

confirmed his interpretation (Mr. Gonzalez’s supplemental declaration, § 15).

        25.     I strongly disagree. PAS Argúcia involves a request by an investment fund

manager, Argúcia Capital Gestão de Recursos Ltda. (“Argúcia”), for authorization to act as an

interested third party in an enforcement proceeding. Because it had no legal grounds, the request

was rejected by the Commission Board, by way of the decisions rendered on March 17, 2020 and

May 5, 2020 in such proceeding.

        26.     Although the Argúcia’s request involved its participation as amicus curiae, such

decisions clarified that, despite CVM regulation not authorizing third party intervention, the




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rapporteur would be entitled to allow third party contributions to the evidentiary stage of the

proceedings, provided that certain conditions are met. 3

       27.     This understanding is aligned with two points. One is that, in Brazil, as a

consequence of the constitutional right to petition (described in Renteria’s First Declaration, §§

29-31), anyone may file a petition to public authorities in order to inform the occurrence of facts

that, in his or her view, deserves the adoption of appropriate measures. It is an universal right, that

may be exercised by any person, whether or not he or she is personally or financially interested in

the proceeding’s resolution.

       28.     The other one is that the rapporteur plays a central role in conducting the

administrative proceedings, especially with regard to evidence production. He or she decides, for

example, which additional diligences must be conducted in order to clarify the facts related to the

accusation (Art. 42 of CVM Resolution No. 45/2021), which includes determining whether

specific third-party contributions must be approved.

       29.     According to CVM Chairman’s vote in PAS Argúcia, the possibility of submitting

contributions to the evidentiary stage of the proceedings “does not give the Appellants the standing

to file petitions outside of the ordinary course of the proceedings because it disrupts the case —

although they contributed to its beginning, the Appellants are not part of this proceedings

and, therefore, cannot interfere with it without being properly requested” (emphasis added).

       30.     As one can see, Argúcia was not given special participation rights in the

administrative proceeding. As determined by the Board of Commissioners in the May 5, 2020


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          CVM Chairman Marcelo Barbosa pointed out, in the March 17, 2020 decision, that “(...)
nothing prevents that, after an in-depth analysis of the case files to form his view in relation to the
merits, the rapporteur requests, through additional steps, a statement on specific points that may
be clarified by third parties, which will certainly be evaluated with careful diligence, since it will
not enjoy the impartiality typical of amicus curiae.”

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decision, such third party contributions, in order to be allowed in the administrative proceedings

instruction, shall meet certain conditions, which were described in the minutes of the Board’s

meeting. 4

       31.     Then, after attending such conditions, Argúcia filed a new request to the rapporteur,

this time so that it could submit certain evidence into the case files of the administrative

proceedings. It filed a petition to the rapporteur indicating in advance how it would like to

contribute towards clarifying the facts addressed in the case files. Subsequently, the rapporteur

accepted the submission of certain evidence and rejected the submission of others.

       32.     In line with the guidance established in the decisions of March 17, 2020 and May

5, 2020, the rapporteur of PAS Argúcia and CVM Chairman Marcelo Barbosa stressed, in the

March 9, 2021, decision (the one mentioned by Mr. Gonzalez) that his decision was based on art.

42 of CVM Ruling n. 607/2019 (currently art. 42 of CVM Resolution n. 45/2021), which, as

described above, grants the rapporteur, and the rapporteur only, the prerogative of producing new

evidence during the course of administrative proceedings, at his or her discretion. This is what one

sees in the following excerpt from Barbosa’s vote:

               “In my understanding, if the evidence required is consistent with the purpose of the
               proceedings, able to resolve disputed points and the duly substantiated request, the
               rapporteur may, in light of the arguments presented, decide on the discovery
               - since, obviously, the right to a free and fair defense is respected -, taking into



       4
          According to the referred minutes, “Chairperson Marcelo Barbosa, rapporteur of the
proceedings, believed that the premise adopted by the Claimants is not supported. This is because,
as he emphasized, rapporteurs of administrative proceedings are entitled, when they believe it to
be useful for better clarification of relevant facts, to request third party information, as indeed
occurs, regardless of ‘procedural challenge to this’. Along the same line, he emphasized that the
Claimants may petition the rapporteur stating that they can contribute to the resolution of the matter
under consideration. In this hypothesis, the rapporteur shall evaluate the relevance of the request
and decide, indicating what clarifications will be relevant, how they can be provided and other
aspects deemed important, based on the particularities of the case.”

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               account the discretionary margin granted by art. 42 of CVM Instruction n.
               607/2019” (emphasis added).


       33.     Contrary to what Mr. Gonzalez suggests in his additional statement, the decision

made by the CVM on March 9, 2021 does not recognize the right of a third party – who is not

part of the administrative proceedings – to submit additional evidence into the case files, even if

such third party contributed to the beginning of the proceeding. Actually, this decision

confirms the understanding adopted by the CVM in the decisions of March 17, 2020 and May 5,

2020, which was described in Renteria’s First Declaration.

       34.     Thus, it is not possible for anyone who is not a party in the administrative

proceeding to acquire special participation rights. Regardless of its conditions, its characteristics

or its involvement with the respective facts, any third party who wants to submit any evidence to

such proceeding shall exercise its right to petition and previously request the approval of the

respective rapporteur.

       35.     This understanding, it should be emphasized once again, is currently in force in

CVM and is in line with the fact that (i) the category of an interested third party does not exist in

administrative proceedings instituted by the CVM; (ii) third parties, whether or not they have an

interest in the proceedings, may petition the rapporteur to inform them how they intend to

contribute to the judgment of the case; (iii) no special participation right is recognized for third

parties – as the decisions make clear, it is the rapporteur who may determine the production of new

formalities, at his or her discretion; and (iv) the submission of evidence by third parties is always

dependent on authorization in advance from the reporting director.

       36.     Additionally, contrary to what Mr. Gonzalez alleges in his supplementary statement

(§ 25), the decisions rendered by the rapporteur of PAS 19957.008434/2019-03 (“PAS Bertin”),


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Mr. Alexandre Rangel, do not show that the CVM admits interested third parties in its sanctioning

proceedings. First, it should be clarified that the decisions of Director Rangel, as they were taken

monocratically, do not constitute precedents of the CVM. Indeed, CVM’s caselaw is formed

exclusively by the deliberations of its Board of Commissioners, as this is the highest body of the

CVM.

       37.     Second, the decisions rendered by Director Rangel in the aforementioned

sanctioning proceeding did not recognize SPS as an interested party in such proceeding. On the

contrary, the decisions of the aforementioned director expressly pointed out that the Petitioner did

not request its intervention as an interested third party and, therefore, there was nothing to decide

in this regard. Along these lines, in his decision of December 30, 2021, the Director highlighted

that

               “there is no formal request from [SPS] to have its hypothetical right to formally
               intervene in this Proceeding as an interested third party, either as an assistant,
               amicus curiae or under any other form of third party intervention admitted in the
               Brazilian legal system.”

       38.     What the director actually did was act in line with the procedure defined in PAS

Argúcia: upon receiving a request from someone outside the proceeding, he decided whether or

not to accept the contribution offered. And, because he decided that the document provided should

be accepted (including because the document was already publicly available online), he approved

the request made by the SPS. However, if SPS had wished to resubmit other documents or

information to the same PAS Bertin proceeding, it would have had to seek leave to do so by making

another request, precisely because SPS did not have special rights to participate in the proceeding.




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       C.      If third-party participation is not applicable in actual administrative

       disciplinary proceedings, such participation is even less applicable within respect

       investigative procedures

       39.     As Mr. Gonzalez himself states in his supplemental declaration, “SPS’s role in the

new proceeding would be different from the role of the investors in the PAS Argucia and PAS

Bertin” (§ 30). In fact, the situation of SPS in the scope of the contemplated investigative procedure

would be substantially different, insofar as it intends to file a complaint that, if successful, would

cause the CVM to investigate certain facts. A possible formal indictment will only be filed if the

CVM deems it pertinent, after completing its investigation and based on its own assessment (see

Renteria’s First Declaration, §§ 49-53).

       40.     As I explained in Renteria’s First Declaration, the investigative activities of the

CVM follow the so-called inquisitorial system, by which the CVM superintendence responsible

for the investigation of the facts unilaterally collects information that will allow it to form a

judgment as to the occurrence of any eventual irregularity. As the CVM has already clarified, in

an excerpt that is worth transcribing once again, there are no parties in the investigation phase of

a case – not even the investigated person is considered a party:

               “It is also worth clarifying that, during the investigative phase, the investigated
               person is not regarded as a party in the procedure, as alleged in the appeal,
               which, in its understanding, would allow it to access the case files, and that this
               restriction does not cover solely the public in general” (emphasis added). 5

       41.     The CVM has also clarified that there is “neither an accusation nor an accused

party, since the relevant authority is not even persuaded of the occurrence of any irregularity.” In




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       Appeal against decision by the SFI relation to the request for inspection within the scope
of CVM Proceedings No. RJ2005/7874, Rapporteur Dir. Norma Parente, sentenced on 12/6/2005.

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this sense, CVM has already emphasized that “the unilateral nature of evidence gathering,” by way

of which the superintendent conducts its investigation, “is intrinsic to the nature of the procedure

and it does not allow during this phase for third parties to compete with the public administration

in the production of evidence, so as not to undermine the current effectiveness of said

investigation.” 6

         42.       Mr. Gonzalez is therefore incorrect in stating that “[t]he investor who filed a

complaint will be an interested third party” and that, “[a]s (…) interested third parties, investors

may participate in administrative proceedings pending before the CVM in various forms”, which

would include, according to him, the submission of documents, the exposition of clarifications and

the suggestion of additional diligences for the appreciation of the CVM (supplemental declaration,

§ 35).

         43.       In fact, it should be noted that all the precedents cited by Mr. Gonzalez in his

supplemental declaration relate to attempts by third parties to participate in sanctioning

administrative proceedings (that is, those initiated after the indictment was made). Indeed, Mr.

Gonzalez does not cite any CVM precedent recognizing the petitioner’s participation as an

interested third party in an investigative procedure. And the reason for this is simple: there are no

records of any such precedent.

         44.       As already explained, the investor who files a claim is only exercising his or her

right to petition (see Renteria’s First Declaration, §§ 29-31), provided in the Brazilian Federal

Constitution and guaranteed to any citizen in the country. As I was able to point out in Renteria’s

First Declaration, “filing a complaint does not render the complainant an interested party in the




         6
             Id.

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procedure initiated by the CVM to examine the complaint” (§ 31). The complainant has no special

right to participate in the investigation – he is treated like any other citizen.

       D.       The possibility for the investor to appeal a decision of a CVM superintendence

       not to pursue an investigation or accusation does not make him qualify as an

       interested third-party

       45.      In his supplemental declaration, Mr. Gonzalez cites the possibility of the petitioner

to appeal to the CVM Board of Commissioners (which is not a judicial court and does not hold

any judicial review powers) against the superintendence’s decision not to bring a formal accusation

as basis for considering the petitioner an interested third party in the process. In his words,

“[c]onsidering the decision of the Board of Commissioners, the CVM unit may perform further

investigations/analyses on the matter and, as applicable, revert its initial decision not to bring

charges” (§ 36).

       46.      However, contrary to what Mr. Gonzalez alleges, this appeal (as with any appeal of

a decision by the CVM SOI to reject a complaint) has a very limited scope and does not authorize,

under any circumstances, the Board of Commissioners to review the decision not to file an

accusation made by the technical area or to reject a complaint by the CVM SOI. Such an appeal,

in short, does not give the claimant the right to ask the Board of Commissioners to examine the

merits of his claim.

       47.      Indeed, the appeal referred to in art. 4, § 4, of CVM Resolution n. 45/2021 is only

applicable in two exhaustive and restricted cases: (i) if the decision of the technical area is

groundless or (ii) if it is in disagreement with the prevailing position of the Board of

Commissioners. Apart from these possibilities – which, as stated by the Board of Commissioners

in a recent decision, form a “very specific and direct list” – the appeal is not even considered,



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since, as already explained in the Renteria’s First Declaration (§§ 26-27), due to the accusatory

model adopted by the CVM in its proceedings, the Board of Commissioners cannot intervene in

investigations and prosecution activities.

       48.      This is what the CVM Chairman clarified in the judgment of Process n.

19957.010563/2018-72, j. on March 3, 2020. In his words, the appeal in question “is not an

instrument for reviewing any and all aspects of the accusatory judgment rendered by the technical

area, as it is limited to the possibilities strictly provided for in the rules” and “does not allow the

appellant the possibility of re-discussing the merits of the decision of the technical area.”

       49.      The CVM Chairman reported that, according to the appellants, the configuration of

the illicit acts alleged by them “is casuistry and would require an analysis of the facts of the specific

case, by the Board of Commissioners, so that it could reformulate the decision of the SEP

[superintendence];” However, the Chairman clarified that it is not up to the Commissioners of the

CVM to proceed with this analysis within the scope of the appeal in question:

                “art. 4, §4, does not seem to have such reach. The analysis of these issues implies
                assessing whether the evidence in the records is sufficient to characterize just cause,
                which, in my view, would result in a prejudgment by the Board of Commissioners
                as to the verisimilitude of the Appellants’ allegations. And it is precisely this type
                of judgment that the institutional model adopted by the CVM after 2002 [the
                segregation between the accusatory and judging functions] and, currently provided
                in CVM Instruction n. 607/2019, seeks to avoid.”


       50.      In other words, the Board of Commissioners can order the technical area to proceed

with its investigation, but in no case can it issue a judgment on the merits of the complaint or the

appropriateness of bringing an accusation. As established in § 6 of art. 4 of CVM Resolution n.

45/2021, on remand, the accusatory judgment is reserved only for the technical area: “[t]he

decision of the Board of Commissioners (...) will not determine the initiation of a sanctioning



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administrative proceeding, being the superintendence in charge of complementing the reasoning

or reviewing the factual circumstances in accordance with the prevailing position in the Board of

Commissioners”.

       51.     Thus, after complementing the reasoning of its conclusions on the complaint or

reviewing the evidence in the light of the Board of Commissioners’ order, the technical area may,

based on its own assessment, close the investigative procedure, without the complainant’s or the

CVM Board of Commissioners’ consent.

       52.     On the other hand, Mr. Gonzalez suggests that the CVM’s decision not to file an

accusation can be appealed by the investor who has filed a complaint, as he states that “[a] decision

of the CVM unit not to pursue an accusation, upon a complaint made by an investor, may even be

subject to an appeal by the respective investor to the Board of Commissioners” (supplemental

declaration, § 36, emphasis added). Put this way, the reader is led to believe that the claimant has

special status, being the sole holder of the right to bring the appeal in question.

       53.     This, however, is not correct. Art. 4, § 4, of CVM Resolution n. 45/2021 does not

restrict the right to appeal, making it clear that anyone, regardless of whether they have filed the

complaint or the interest they may have in the case, can file it.

       54.     In this regard, see the SDM Public Hearing n. 02/2018, under which the CVM

carried out a public consultation to gather suggestions on its proposal for a new regulation of its

enforcement activity. This proposal resulted in CVM Instruction n. 607/2019, which provided, for

the first time, the regulation of the appeal against the closing of an investigative procedure, in

identical terms to what currently appears in art. 4 of CVM Resolution n. 45/2021.

       55.     At this Public Hearing, the Brazilian Association of Capital Markets Investors

(AMEC) argued that “the provision mentions an appeal against the decision of the



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superintendencies, but without specifying who has such right” and suggested that “the CVM

should specify this right of appeal, including not only the applicant/complainant, but also other

third parties affected by the outcome of the administrative process.” This participant even

suggested that “[t]he third parties, once admitted, should be able to monitor the entire proceeding,

being notified of the decisions and their regular progress.”

       56.      In response, contained in the Analysis Report of the Public Hearing, the CVM

informed that “it did not consider it appropriate to bring the debate to the restricted and special

scope of the rule of sanctioning administrative proceedings, which is why this Instruction does not

provide specific provision as to the matter.” As it can be seen, therefore, the CVM deliberately

chose not to restrict the legitimacy for bringing an appeal, thus authorizing it to be brought by

anyone, regardless of their interest in the investigative procedure.

       57.     All of this shows that interested third parties do not exist in the scope of

investigative procedures and that SPS will not become the holder of any special right to participate

simply because it has filed a complaint.


III.   THE EFFECTIVENESS OF AGREEMENTS MAINTAINED WITH OTHER
       PUBLIC INSTITUTIONS FOR THE DIRECT OBTENTION OF THE
       DOCUMENTS SUBJECT TO THE DISCOVERY REQUEST FROM THE US
       AUTHORITIES

       58.     In its Memorandum of Law, SPS questions the effectiveness of the agreements

maintained by the CVM with other public institutions, such as the Central Bank of Brazil (BCB)

and the Brazilian Federal Prosecutor’s Office (MPF), which grant the CVM the ability to obtain,

if it deems it necessary, the documents that are the subject of the discovery request. SPS claims

that this power of the CVM would be speculative and conditional. It also claims in this regard that

there is no evidence (i) of the probability that the CVM will be successful in using these

agreements; (ii) of the scope of documents that could be obtained through the agreements; and (iii)
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of the time it would take to obtain the documents through the agreements. Finally, SPS speculates

that, due to its budgetary constraints, the CVM would not be in a position to properly conduct its

investigative activity.

       A.       CVM’s power is neither speculative nor conditional

       59.      SPS alleges that the CVM’s power to obtain, via agreements, the documents sought

by the discovery request would be speculative and conditional because the Intervenors claim, with

the support of Renteria’s First Declaration, that the CVM “may obtain relevant information from

the SPS’s hypothetical proceeding” and “may also leverage agreements with various institutions”

(SPS’s Opposition, p. 24).

       60.      In this regard, I would like to clarify that the only reason I used the auxiliary verb

‘may’ is because the CVM is under no obligation to use the agreements. Of course, it will only

engage its counterparts if it deems it helpful for the conduct of its investigation. But my First

Declaration was quite clear in the sense that both the agreement with the Central Bank of Brazil

and the agreement with the Brazilian Federal Prosecutor’s Office conferred on the CVM the power

to request the assistance of these institutions and to obtain from them information, documents, and

evidence that is useful for its enforcement activity (Renteria’s First Declaration, §§ 58-68).

       61.      In this sense, with respect to the agreement with the Brazilian Federal Prosecutor’s

Office, I highlighted that, under the terms of the aforementioned agreement, “the MPF should

send the CVM any information, documents and elements of proof that are obtained within

the scope of the administrative, civil or criminal investigations (...)” (Clause 2.3) (Renteria’s

First Declaration, § 61). Likewise, with regard to the Central Bank of Brazil, I highlighted that,

under the terms of the agreement currently in force, “the BCB and CVM should maintain a




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permanent exchange of information, albeit protected by the secrecy (...)” (Clause 5.1)

(Renteria’s First Declaration, § 67).

       62.      As it can be seen from the content of the agreements, there is no doubt that the

CVM has the power to obtain from both the Brazilian Federal Prosecutor’s Office and the Central

Bank of Brazil the documents that these institutions can provide for its investigative activity.

       B.       The effectiveness of the agreements to obtain the documents sought by the

                discovery request

       63.      In its Memorandum of Law, SPS alleges that there is no evidence of the

effectiveness of the agreements maintained with the BCB and the MPF for the CVM to succeed in

obtaining, in a reasonable time, the same documents that are the subject of the discovery request.

In my opinion, there is no need for evidence to prove the effectiveness of these agreements, since

the CVM, the MPF and the BCB are recognized as serious institutions committed to fulfilling their

legal duties.

       64.      In any case, there is concrete evidence that these agreements have been successfully

used by the CVM in its enforcement activity, including in cases involving transnational illicit acts.

       65.      In this sense, one can review PAS CVM n. RJ2015/1760 and n. 01/2016 7, in which

accusations were made against managers of Embraer – a Brazilian company that manufactures

aircraft with ADRs listed in the United States – due to the commitment of acts of corruption in

international sales of aircraft to the Dominican Republic’s air force. As addressed in the Report of

PAS n. RJ2015/1760, of which I was the rapporteur, the investigations that resulted in the



        7
         The Administrative Sanctioning Proceeding CVM n. RJ2015/1760 was judged by the
CVM Board of Commissioners on 9.11.2018, under the report of Director Pablo Renteria. The
CVM Sanctioning Administrative Proceeding was judged on 3.22.2022, under the reporting of
Director Flávia Perlingeiro.

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accusations made were based on the Official Letter PR/RJ/GAB/TPF/12442/2014, through which

the MPF shared with the CVM the evidence it had on the acts of corruption. Due to its transnational

nature, the case involved the cooperation of the CVM and the MPF with public authorities from

the Dominican Republic and the United States of America, through the Securities and Exchange

Commission (SEC) and the Department of Justice (DOJ). 8

       66.     As highlighted in this case by the Federal Prosecutor’s Office, in its Opinion n.

00003/2016/PFE-CVM/PGF/AGU), “(...) parallel criminal and administrative investigations are

pending, in the United States of America (USA), before the Department of Justice (DOJ) and the

Securities and Exchange Commission (SEC), specially related to the non-compliance with the

rules of the Foreign Corrupt Practices Act (FCPA), which contributed decisively to the criminal

investigation procedure [of the MPF] precursor of criminal action n. 002250003.2014.4.02.5101

and, therefore, of the procedures currently underway at the CVM.”

       67.     It is also worth mentioning that the close cooperation between, on the one hand, the

CVM and the MPF and, on the other hand, the SEC and the DOJ resulted in the simultaneous

execution of terms of commitment and conduct adjustment agreements with both the Brazilian and

North American authorities to close all lawsuits filed against Embraer (CVM Case n.

00783.001957/2016-89). The term of commitment with the CVM was approved by its Board of

Commissioners at a meeting held on 10.6.2016. In its minutes it was recorded that “the Federal

Prosecutor’s Office (“MPF”), the CVM, through its Specialized Federal Attorney’s Office (“PFE-

CVM”), as well as the aforementioned US authorities, maintained contact and exchanged

information, including for the purpose of making possible the concomitant execution of



       8
         This fact is mentioned in § 105 of the Report, which mentions the existence of parallel
investigations by the SEC and the DOJ.

                                                21
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agreements in the two countries”. On the occasion, as recorded in the minutes, CVM Chairman

Leonardo Pereira emphasized that “the execution of the TCAC [agreements] highlights the

importance of coordination between local and foreign public authorities for the effectiveness of

action, in their respective spheres of competence, to curb the practice of crimes of this magnitude”.

       68.      Definitely, the Embraer case shows that the cooperation agreements with the MPF

and US authorities are effective and in fact allow the CVM to obtain, albeit indirectly, through the

MPF, evidence to be used in its investigative activities, including in cases involving the alleged

commitment of acts of transnational corruption.


       C.      The scope of the cooperation agreements and the documents that can be

               obtained through them

       69.     SPS also alleges in its Memorandum of Law that there is no evidence that the

cooperation agreements would be able to provide the CVM with the same documents that are the

subject of a discovery request. On this point, however, I refer to the Renteria’s First Declaration,

in which I demonstrate, through the quotes of excerpts from the aforementioned agreements, that

their scope is very broad, with no restriction on the nature of the documents that can be obtained

by the CVM.

       70.     In this sense, under the terms of the agreement signed between the CVM and the

MPF, “the MPF should send the CVM any information, documents, and elements of proof that are

obtained within the scope of the administrative, civil or criminal investigations ”. Likewise, Item

2 of Article I of the Agreement on Legal Assistance in Criminal Matters entered into between

Brazil and the United States provides, in broad terms, “the supply of documents, records and assets

(paragraphs b and d); the enforcement of search and seizure warrants (paragraph f); and any other




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means of assistance not prohibited by the laws of the country whose assistance has been requested”

(paragraph h).

       71.       Nor is there any restriction on the documents and information that may be

transmitted to the CVM through the agreement entered into with the Central Bank of Brazil. As

already mentioned in my first statement, this agreement comprises all information that any of the

bodies “have obtained or may obtain during the exercise of their legal attributions”, even if they

are protected by bank secrecy.

       D.        CVM’s budget difficulties

       72.       SPS also alleges that, in the Renteria’s First Declaration, I did not address “the

practical constraints on CVM investigations generally due to its severe underfunding in recent

years or suggest why those constraints will not be an issue in this case”. First of all, I clarify that I

did not initially address this argument because I understood it to be purely rhetorical.

       73.       In any case, given the insistence of SPS, I will now address it. First, it is not correct

to say that the CVM has been suffering, in recent years, from a greater budgetary problem. At the

beginning of this year, there was, in fact, an announcement that the National Congress would

significantly reduce the CVM budget, but this announcement caused a broad reaction from the

Brazilian market, which struggled to reverse such reduction. In fact, to help the CVM in this

campaign, I made a public statement in the Brazilian newspaper Valor Econômico, about the risks

that the budget cut could bring to the activities of the regulatory body. 9

       74.       This campaign had important effects. In an article published in the Brazilian

newspaper Brazil Journal, the current Commissioner of the CVM, Alexandre Rangel, said that



        9
        See https://valor.globo.com/financas/noticia/2022/02/08/enxugamento-da-cvm-ameaca-
capacidade-de-supervisionar-mercado-dizem-ex-diretores.ghtml, accessed on 6.23.2022.

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“the Board of Budget Execution [of the Brazilian Government] published a decision that almost

fully meets the budget proposed by the CVM for 2022 (a measured amount, consistent with the

reality fiscal and economic of the country; but that at the same time makes viable the activities of

the entity this year)”. 10

        75.      In other words, according to the aforementioned Commissioner, the CVM received

almost all the resources it had requested, so it is not correct to say that CVM “has been suffering

from a major insufficiency of resources” (Mr. Gonzalez’s supplemental declaration, § 51). In fact,

its current budget situation is not different from that observed in recent decades. Historically, the

CVM has always asked the Federal Government and the National Congress to expand its budget,

on the grounds that the lack of resources could harm its activities, 11 but that never stopped the

CVM from carrying out work that was recognized as being of high quality, including in its

investigative activity.

        76.      According to the figures released by the CVM in its 2020 supervisory activity report

(last published annual report), the CVM reports that, despite all the challenges, it managed to meet




        10
         See https://braziljournal.com/opiniao-o-problema-orcamentario-da-cvm-tem-solucao-e-
preciso-vontade-politica/, accessed on 6.23.2022.
        11
           This can be seen from the reports prepared by the CVM on its risk-based supervision
activities. The first of these reports referred to the 2009-2010 biennium, and already then the
Brazilian regulator pointed out that “[in] the last few years, the CVM started to face a bottleneck,
resulting, on the one hand, from the large volume [of] cases, and, on the other hand, the shortage
of personnel.” The report for the 2017-2018 biennium, in turn, highlighted that, “[w]ith respect to
the limiting factors to the implementation of the 2017-2018 Biennial Plan, the highlights remain
the same as those reported by the CVM in recent years”. SBR semiannual reports: budget, human
resources and computerized systems.” Finally, the 2019 report reiterated that one of the factors
limiting the supervision in question “refers to the continuous reduction, since 2014, of the
discretionary budget available to the CVM.” All reports prepared can be accessed at
https://www.gov.br/cvm/pt-br/acesso-a-informacao-cvm/acoes-e-programas/plano-de-
supervisao-baseada-em-risco.

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one hundred percent of the supervision actions planned for the year. 12 Moreover, according to the

report published by the CVM on its sanctioning activity in 2021 (last one published), the CVM

opened, in 2021, 113 new investigative administrative proceedings, a number higher than

observed in 2020 (83), 2019 (102 ) and 2018 (105). 13

       77.        Also according to the report on the sanctioning activity, 14 in 2021, the CVM opened

18 inquiries (as already explained in Renteria’s First Declaration, § 50, inquiries are used to

conduct more complex investigations). This number is higher than the number of inquiries opened

in 2020 (14), 2019 (17) and 2018 (13). In fact, the number of inquiries opened in 2021 is the

highest in the CVM’s historic series since 2013.

       78.        In this context, there is no reason to justify Mr. Gonzalez’s statement that the CVM

would not be in a position to “perform broad investigations – especially, an international

investigation with the cooperation of various local and foreign authorities” (Mr. Gonzalez’s

supplemental declaration, § 50). Such an argument is purely rhetorical and does not match reality,

in addition to being unfair to the effort of all the CVM employees to ensure the quality of the

regulatory body’s activities.



IV.    FINAL CLARIFICATIONS

       79.        Before concluding this statement, I believe it is important to clarify two final points.


       12
         See report available at https://www.gov.br/cvm/pt-br/acesso-a-informacao-cvm/acoes-
e-programas/plano-de-supervisao-baseada-em-risco/2019-2020/relatorio-anual-2020.pdf.
       13
             See        report    available      at    https://www.gov.br/cvm/pt-br/centrais-de-
conteudo/publicacoes/relatorios/relatorio-de-atividade-sancionadora/relatorio-de-atividade-
sancionadora-cvm-2021-4o-trimestre-e-anual-
integra/@@download/file/20220328_relatorio_atividade_sancionadora_4o_trimestre_e_anual_2
021_integra.pdf, p. 19.
       14
            Id.

                                                    25
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       80.     The first one regards Mr. Gonzalez’s supplemental declaration’s assertion that “the

CVM will certainly review and consider the evidence to be provided by SPS within an

administrative proceeding” (§ 52). To this point, it is important to clarify that, in line with the

Renteria’s First Declaration, that complaints filed with CVM go through two consecutive phases

of analysis. The first one is conducted by the Superintendent Office for Investor Protection and

Guidance – SOI, which is in charge of receiving complaints from the general public. SOI (which

has no adjudicatory power, as this is the sole power of the Board of Commissioners) conducts a

preliminary analysis in order to verify whether the complaint contains elements that justify

investigating the facts, as well as whether the CVM has any jurisdiction in relation to the subject

of the complaint (Renteria’s First Declaration, §§ 32-33).

       81.     Such preliminary investigation provides the CVM with an initial mechanism to

eliminate frivolous and speculative complaints without having to conduct a complete investigation.

This phase can result in the dismissal of the complaint, but cannot result in the filing of charges.

       82.     If the SOI understands that the complaint should continue to be analyzed by the

CVM, it must forward the complaint to the relevant technical area of the Brazilian regulator (which

like the SOI has no adjudicatory power), which will start a second analysis. See Figure 1 below.

Firstly, it will proceed with another preliminary assessment of the complaint, supplementary to the

one conducted by the SOI, in order to verify whether there is substantial evidence of an irregularity

that must be investigated (Renteria’s First Declaration, §§34-35).

       83.     Subsequently, if the technical area does not summarily dismiss the case, it shall

deepen its investigations, taking the measures it deems to be applicable in order to check evidence

of illicit activity (Renteria’s First Declaration, § 36). This is the most lengthy, pondered and

decisive stage of the investigation procedure conducted by the CVM, and only after this stage it



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may formulate a term of indictment – or, alternatively, close the case; or require the initiation of

an administrative inquiry in order to deepen the investigation.

       84.     According to Art. 21 of CVM Resolution No. 45/2021, the administrative

enforcement proceeding (called, in Portuguese, “processo administrativo”) is considered formally

constituted only after the defendants are summoned to present their defenses against an accusation

formalized in a term of indictment. It is only from that moment on that CVM sets up an adversarial

procedure, in which the Brazilian regulator engages in a proceeding to resolve the dispute between

prosecution and defense by way of an administrative judgment, carried on by the Board of

Commissioners. As I explained in Renteria’s First Declaration (§ 38), before the summons is

served, there is no administrative proceedings, but only an administrative procedure (called, in

Portuguese, “procedimento administativo”) initiated for investigation purposes. 15




       15
           While this distinction is legally well-established, as a matter of convenience it is not
unusual for the terms to be used interchangeably for clerical and administrative purposes.

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                                                                          Complaint
                                         Not
                                                                                  Submitted to CVM
                                         Submitted
                                                      CVM Superintendent Office for Investor Protection
                                                        and Guidance Conducts Preliminary Review
                                        Reject
                                        Complaint
                                                                                 Complaint forwarded to Technical
                                                                                 Area for further review
         Administrative Investigation




                                                           CVM Technical Area Reviews Complaint
                                         Dismiss
                                         Complaint
                                                                                  Complaint proceeds to Investigation


                                                           CVM Technical Area Initiates Investigation
                                          Terminate
                                          Case                                                                Deepen
                                                                                                              Investigation/Inquiry

                                                                                                                         Terminate
                                                                                                                         Case


                                                            CVM Technical Area Charges Defendants
Administrative Proceeding




                                                                                  Defendants are served and
                                                                                  present their defenses



                                                               Ruling by Board of Commissioners
                                           Dismiss                                                            Impose penalties,
                                           Case                                                               fines on defendants




                                        Figure 1: Decision Tree of CVM Investigation & CVM Proceeding In Response to
                                        Complaint

                                                                            28
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       85.     The second final point concerns the possibility for the CVM to use evidence arising

from the FinCEN Files.

       86.     As disclosed by the DOJ and the International Consortium of Investigative

Journalists , the FinCEN Files were criminally leaked in violation of U.S. criminal law by a former

senior adviser at the Treasury Department’s Financial Crimes Enforcement Network (FinCEN). 16

Therefore, if according to US Law, these documents, including Barclays’ financial report, were

considered illegal or inadmissible evidence, then they would be likewise regarded as illegal or

inadmissible evidence in Brazil. This means that CVM is unlikely to investigate SPS’s allegations

as they are based on the documents that were criminally leaked under U.S. law.

       87.     This is because, under Brazilian Law, the method and means for the collection of

evidence is governed by the law of the forum where the evidence is collected (lex diligentiae). 17

In this regard, Article 13 of the Law of Introduction to the Brazilian Law (Decree-Law n.

4,657/1942), sets forth that “the proof of the facts that occurred in a foreign country is governed

by the law in force in that country, regarding the burden and the means of producing it (…)”.

       88.     In several decisions, the Brazilian Supreme Court and the Brazilian Superior Court

of Justice (Superior Tribunal de Justiça, the highest adjudicating body for non-constitutional

issues) have ruled that the admissibility of evidence collected in a foreign country must be assessed

in the light of the law governing this forum. 18 Should the evidence be deemed illegal in the foreign


       16
          See https://www.justice.gov/usao-sdny/pr/former-senior-fincen-employee-pleads-
guilty-conspiring-unlawfully-disclose-suspicious and https://www.icij.org/investigations/fincen-
files/what-is-the-fincen-files-investigation/, accessed on 6.28.2022.
       17
          See Jacob Dolinger, Carmen Tiburcio, Direito Internacional Privado, 14ª ed., Rio de
Janeiro, Forense, 2018, p. 554.
       18
          See STJ, j. 1.6.2022, APn 927, Rel, Min. Maria Isabel Gallotti, DJe de 10/6/2022; STJ,
j. 1.6.2022, APn 927, Rel, Min. Maria Isabel Gallotti, DJe de 10/6/2022; STJ, j. 4.5.2021, AREsp
n. 701.833, Rel. Min. Ribeiro Dantas, DJe de 10/5/2021; STJ, j. 24.5.2018, AgRg no REsp


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forum where collected, then it will be regarded as illegal in Brazil as well. 19 For example,

documents that where stolen or obtained in violation of local laws cannot be used in Brazil. 20

        89.     Moreover, as I exposed in my First Declaration (§ 50(ii)), the Brazilian courts apply

the doctrine of the fruit of the poisonous tree. As per the consolidated case law of the Federal

Supreme Court, the highest Brazilian court, as a consequence of such doctrine, “evidence obtained

by unlawful means contaminates evidence which ‘exclusively’ results therefrom; rendering it

inadmissible in the proceedings and may not give rise to a criminal investigation and, with more

reason, be the basis of a complaint, request for evidence, and judgment (Federal Constitution (CF),

Art. 5, LVI)”. 21

        90.     Such understanding is entirely applicable to the CVM investigations and

proceedings, even if they have no criminal nature. Therefore, in my understanding, the CVM is

unlikely to initiate an investigation based on the documents sought by the discovery request as

they derive exclusively from FinCEN Files, which have been criminally leaked under U.S. law.




1.656.153, Rel. Min. Felix Fischer, DJe de 30/5/2018; STJ, j. 24.5.2018, AgRg no REsp 1.656.153,
Rel. Min. Felix Fischer, DJe de 30/5/2018.
        19
           See Carmen Tiburcio, The Current Practice of International Co-Operation in Civil
Matters, Recueil des cours, vol. 293 (2018), p. 273: “Hence, evidence collected in disregard to
this rule [lex diligentiae] should be deemed inadmissible in the country where the main
proceedings are taking place”.
        20
          Carmen Tiburcio, The Current Practice of International Co-Operation in Civil
Matters, Recueil des cours, vol. 293 (2018), p. 285: “Along the same lines, documents that
where stolen or obtained in violation of local laws cannot be used either”.
        21
          See among others, Habeas Corpus 72.588/PB, Rapporteur Min. Maurício Corrêa, sentenced
on 6/12/1996; Habeas Corpus Appeal (RHC) 90376, 2nd Division, Min. Rapporteur Celso de Mello,
sentenced on 4/3/2007; Habeas Corpus 93050/RJ, 2nd Division, Min. Rapporteur Celso de Mello,
sentenced on 6/10/2008; Interlocutory Appeal (AgR) on Habeas Corpus Appeal (RHC) 153869/DF,
2nd Division, Min. Rapporteur Celso de Mello, sentenced on 5/4/2020.

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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct to the best of my knowledge.

Executed on June 30, 2022

Rio de Janeiro, Brazil




                                                           Pablo Renteria




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